                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    NORTHERN DIVISION (BAY CITY)

In Re:
BONNIE ANNETTE GOTTLEBER                                  Case No. 18-21288-dof
                                                          Chapter 13
                                                          Judge OPPERMAN
Debtor.
____________________________/


          ORDER ALLOWING DEBTORS TO ENTER INTO
       PERMANENT MORTGAGE LOAN MODIFICATION WITH
                  WELLS FARGO BANK, N.A.

       THIS MATTER COMES before the Court on the Stipulation of the
Debtor, Bonnie Annette Gottleber, Creditor, Wells Fargo Bank, N.A., and the
Standing Chapter 13 Trustee, Thomas McDonald, for entry of an Order Allowing
Debtors to Enter Into Permanent Mortgage Loan Modification with Creditor, Wells
Fargo Bank, N.A., and this Court having reviewed the Stipulation and proposed
Order, having determined that entry of this Order is consistent with the provisions
of Title 11, United States Code, having determined that entry of this Order is not
adverse to any party in interest, and being otherwise fully advised in the premises;

            IT IS HEREBY ORDERED as follows:

      1.    Debtor(s) Permanent Loan Modification with Creditor is approved as
            follows:
            a.    The modified Unpaid Principal Balance: $92,000.00.
            b.    The deferred Principal Balance: $7,746.74.
            c.    The amount capitalized: $8,657.41.
            d.    The modified maturity date of the Mortgage Loan is
                  12/01/2058.
            e.    The modified Term (in months): 480.
            f.    The interest rate on the Unpaid Principal Balance is 4.500%
            g.    The Modified Principal and Interest Payment: $413.60




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         h.     The modified monthly payment is first due on January 1, 2019.
         i.     Effective January 1, 2019, Debtor(s) ongoing class 4.1
                mortgage payment shall be $705.54 per month, including
                Principal and Interest plus escrow amounts for property
                insurance and taxes as provided for in the mortgage and
                consistent with the requirements of applicable Federal and State
                Law. The escrow payments may be adjusted periodically in
                accordance with applicable law; therefore, the total monthly
                payment may change accordingly.
         j.     The property securing this mortgage is located at 601 Glenview
                Court, Pinconning, MI 48650.

   2.    Upon the conclusion of Debtor’s Chapter 13 case, whether by
         discharge, dismissal or otherwise, Debtor shall be responsible for
         making all future payments pursuant to the terms of the Mortgage
         Loan documents.

   3.    The Mortgage Loan shall be deemed contractually current as of
         January 1, 2019. The Chapter 13 Trustee shall not make further
         disbursements on any unpaid balance on Creditor’s 4.1 post-petition
         mortgage payments or on Creditor’s Class 4.2 pre-petition arrearage
         claim accruing prior to the date set in this Paragraph 4.

   4.    Except as modified in this Order, the terms and conditions of the Loan
         and Mortgage documents between Debtors and Creditor shall remain
         in full force and effect.

   5.    Creditor reserves the right not to be obligated by the Loan
         Modification Agreement in the event Debtor and/or the non-filing Co-
         Debtor fails to meet any of the requirements under the Agreement
         including but not limited to failing to make the required payments due
         as of the closing date of the Loan Modification Agreement.

   6.    The treatment of the claim of Creditor in Debtor’s Chapter 13 Plan is
         modified as necessary to comply with the provisions of this Order,
         including but not limited to, the change in Creditor’s Class 4.1
         mortgage payment and suspension of disbursements on Creditor’s
         Class 4.2 pre-petition arrearage claim. With respect to Creditor’s



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            modified Class 4.1 mortgage payment, the payment method is
            unchanged and shall continue to be paid by the Chapter 13 Trustee.


     IT IS FURTHER ORDERED that except as expressly modified herein,
Debtor’s plan shall remain in full force and effect.
Signed on November 29, 2018




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